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                       IN THE UNITED STATES DISTRICT COURT
                          FOR NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


BRYAN J. PESTA,                            )   CASE NO. 1:23-CV-00546-DAP
                                           )
                      Plaintiff,           )   JUDGE DAN AARON POLSTER
                                           )
       v.                                  )
                                           )
LAURA BLOOMBERG, in her official           )   NOTICE OF APPEAL
and individual capacities; and             )
HARLAN M. SANDS, BENJAMIN                  )
WARD, CHRISTOPHER MALLETT,                 )
CONOR McLENNAN, and WENDY                  )
REGOECZI, in their individual              )
capacities,                                )
                                           )
                      Defendants.          )


       Notice is hereby given that Plaintiff Bryan J. Pesta hereby appeals to the United States

Court of Appeals for the Sixth Circuit from the Final Judgment dated October 7, 2024 and

entered in this action on the day of October 7, 2024.




Dated: October 29, 2024               Respectfully submitted,



                                      /s/ Frederick C Kelly_______________
                                      Frederick C. Kelly, Esq.
                                      One Harriman Square
                                      Goshen, NY 10924
                                      Telephone:     845-294-7945
                                      Email:         fckellylaw@protonmail.com
                                      Counsel for Plaintiff
